DISTRICT COURT, CITY AND COUNTY OF DENVER,
STATE OF COLORADO
1437 Bannock Street                           DATE FILED: June 26, 2019 9:52 AM
Denver, CO 80202                              FILING ID: 1C068432B5518
                                              CASE NUMBER: 2019CV32464
_________________________________________________
Harold Nachtrieb,

          Plaintiff
v.

KEY BANK NATIONAL ASSOCIATION d/b/a KEY PRIVATE                        COURT USE
BANK, an Ohio corporation                                            ONLY
                                                                     _________
          Defendant
                                                                     Case
John A. Culver, Esq., #21811                                         No.__________
Seth J. Benezra, Esq., #13144
Anna C. Fullerton, Esq., #53490                                      Division: ___
Benezra & Culver, P.C.
633 17th Street, Suite 1450
Denver, CO 80202
(303) 716-0254
(303) 716-0327 fax
jaculver@bc-law.com; sjbenezra@bc-law.com;
acfullerton@bc-law.com


       PLAINTIFF HAROLD NACHTRIEB’S COMPLAINT AND JURY DEMAND


            Plaintiff, Harold Nachtrieb, for his Complaint and Jury Demand, alleges the
     following:

                                      I.     INTRODUCTION

            1.     This case arises from the illegal and retaliatory discharge of Harold
     Nachtrieb from his employment with Key Private Bank (“KPB”) because he lodged
     complaints of illegal and unethical conduct against KPB management. Mr. Nachtrieb
     was also discriminated against on the basis of his age. In his Complaint, Mr.
     Nachtrieb alleges claims for wrongful discharge in violation of public policy, breach
     of contract, and violation of the Colorado Anti-Discrimination Act ("CADA").

                               II.    JURISDICTION AND VENUE

             2     Jurisdiction is proper in this Court pursuant to the Colorado Constitution
     Article VI, Section 9.




                                             Exhibit 1
      3.    Venue is proper under Rule 98(c)(1) of the Colorado Rules of Civil
Procedure, because Defendant KPB does business in the City and County of Denver,
Colorado. Additionally, the events that give rise to this Complaint occurred primarily in
Denver.
                                    III.   PARTIES

       4.     At all times relevant to this Complaint, Harold Nachtrieb resided in the City
and County of Denver, Colorado. He was employed at the Cherry Creek branch of KPB
in the City and County of Denver, Colorado.

      5.     Key Bank National Association is a private corporation, which does
business as Key Private Bank (“KPB”). It is incorporated in Ohio. It has branches
throughout the United States, including in the City and County of Denver, Colorado.

                           IV     FACTUAL BACKGROUND

       A.     Mr. Nachtrieb’s Exemplary Performance.

        6.     Mr. Nachtrieb turned 57 years of age on August 31, 2018, and has over 25
years of securities and wealth management experience with special expertise in client
retention and prospect development. He is also a Chartered Financial Analyst (“CFA”).
Prior to the events at issue in this case, Mr. Nachtrieb ran his own investment advisory
company, and was the Chief Investment Officer for the City of Los Angeles overseeing
$7 billion in operating funds.

      7.     In February of 2015, Mr. Nachtrieb was hired by KPB to serve as the Vice
President, Portfolio Manager (“PM”) for Colorado, in its Wealth Management Group.
Throughout his tenure, his performance was exemplary.

       8.      In 2015, Mr. Nachtrieb helped to successfully transition approximately
$400 million of client assets following the departure of another Colorado PM. Following
the departure of an Idaho PM, Mr. Nachtrieb agreed to take over those accounts as
well. Mr. Nachtrieb was crucial to maintaining client relationships, and accounts during
a turbulent time. In April 2015, he received a letter of commendation and an email from
KPB President, Terry Jenkins, recognizing his successes at KPB.

        9.   As a result of his efforts in Idaho, Mr. Nachtrieb helped KPB retain a $55
million account in 2015. In May of 2015, Mr. Nachtrieb was offered the PM position in
Idaho which he declined. Further, in July of 2015, based on his successes in Idaho and
Colorado, Mr. Nachtrieb was given a $25,000 salary increase in exchange for taking
over management of accounts in Utah, Colorado, and Idaho. In February of 2016, Mr.
Nachtrieb received a $35,000 incentive bonus.




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        B.    KPB’s Open Door Policy.

       10.   When he commenced his employment with KPB, Mr. Nachtrieb received a
number of policies, including KPB’s Code of Ethics and its Open Door Code. When he
received those policies, Mr. Nachtrieb read and understood the policies.

       11.     KPB’s Code of Ethics contains a promise of “non-retaliation.” Code of
Ethics, p. 9, attached as Exhibit A. Specifically, the policy provides that:

        You are encouraged to speak up if you suspect any unethical activity or
        behavior at Key. If you speak up, we will not permit any retaliation against
        you for reporting suspicious activity in good faith and you will not be
        subject to disciplinary action.

Id.
       12.    KPB’s Open Door Policy contains a similar promise of non-retaliation. In
that policy, employees are encouraged to raise issues of concern with management,
both informally and formally. Open Door Policy, pp. 1-2, attached as Exhibit B. That
policy contains a promise of “non-retaliation” which specifically provides that:

        Key is committed to resolving legitimate employee disputes quickly and
        reasonably. Key forbids any retaliation against any employee, who, in
        good faith, pursues resolution of an employee dispute under this policy.

Id.. p. 2.

        13.   Mr. Nachtrieb understood these policies to be commitments by KPB not to
retaliate against him when he raised matters involving potentially unethical behavior to
management. In reliance on those promises, he felt comfortable raising such issues
with management.

      C.    Mr. Nachtrieb was Retaliated Against for Making a Claim Under the
False Claims Act (“FCA”).

       14.    In approximately April of 2016, KPB employees learned that Mr. Nachtrieb
had brought an action for violation of the False Claims Act (“FCA”) against his former
employer, the City of Los Angeles. Management then retaliated against him for that
protected activity by diverting account opportunities to Mr. Nachtrieb’s peer. Mr.
Nachtrieb was also yelled at and intimidated by his supervisors. In mid-2016, Mr.
Nachtrieb received his first unsatisfactory performance review. That review was
inconsistent with Mr. Nachtrieb’s actual performance.

      15.   On September 20, 2016, Mr. Nachtrieb’s former attorney sent a letter to
KPB. Mr. Nachtrieb understood that this letter constituted a protected complaint under

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the KPB Policy. In that letter, Mr. Nachtrieb's counsel insisted that KPB end its
retaliation against Mr. Nachtrieb for his participation in an FCA lawsuit.

    D.     Mr. Lindquist Treated Older Employees Less Favorably Than
Younger Employees, and Targeted Mr. Nachtrieb based on his FCA lawsuit.

       16.    In October of 2016, Jon Eric Lindquist joined KPB as the Market Manager
who supervised all of the Colorado PMs, including Mr. Nachtrieb. Soon after he was
hired, Mr. Lindquist met with KPB attorneys about Mr. Nachtrieb’s retaliation complaint.
Within days, before having the opportunity to observe Mr. Nachtrieb’s performance, Mr.
Lindquist began to unfairly criticized Mr. Nachtrieb’s performance.

       17.    Additionally, soon after he joined KPB, Mr. Lindquist was required to hire
almost an entirely new staff because of high turnover. At that time, Mr. Lindquist only
supervised three employees over the age of 50, including Mr. Nachtrieb. The new hires
brought on by Mr. Lindquist were significantly younger than the other employees. Mr.
Lindquist treated the remaining older employees less favorably than the younger new
hires. He avoided in person conversations with them, diverted all opportunities and
new accounts away from them, and was hypercritical of their performance.

      E.     Mr. Nachtrieb Reported Violations of State and Federal Law and the
CFA Institute Code of Ethics and Standards of Conduct (“CFA Code”)

       18.     Beginning in January of 2017, Mr. Nachtrieb repeatedly complained that
statements mailed to clients by KPB were knowingly false, because KPB
misrepresented which employees worked on the clients’ accounts. In order to mask its
high employee turnover, the statements stated that individuals who no longer worked for
KPB were working on client accounts. Mr. Nachtrieb informed Mr. Lindquist, Ellen
Stanley, the Senior Vice President (“SVP”) of Human Resources (“HR”) and others that
this practice violated KPB policy and the law.

       19.    The professional ethical rules to which Mr. Nachtrieb is bound by as a
CFA, are issued by the CFA Institute and are referred to as the CFA Standards (“the
Standards”). The Standards are designed to protect the public. Among other things, the
Standards state that “Members and Candidates must not knowingly make any
misrepresentations relating to . . . professional activities[,]” and “Members and
Candidates must not engage in any professional conduct involving dishonesty, fraud, or
deceit[.]” CFA Standards, Section I(C)-(D), page 1, attached as Exhibit C.

      20.    In discussions with KPB Management, Mr. Nachtrieb explained that the
misstatements to clients violated federal and state law and implicitly the Standards.
Moreover, the Standards require Mr. Nachtrieb to raise those matters to his managers.

       21.     Because KPB refused to fix the statements, Mr. Nachtrieb continued to
raise this issue.



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      F.     Mr. Lindquist Further Retaliates.

       22.    Soon after he surfaced these complaints, Mr. Lindquist began retaliatinng
against Mr. Nachtrieb. Although Mr. Nachtrieb had exceptional performance in 2016, in
his annual 2016 performance review, which he received on or about March 6, 2017, Mr.
Lindquist rated Mr. Nachtrieb a 2 out of 5 or “unsatisfactory”.

        23.    Mr. Nachtrieb’s 2017 performance was highly successful. In 2017, Mr.
Nachtrieb was actually a top producing PM and ranked eighth on the PM Scorecard out
of 50 KPB PMs nationwide and number one in the Rocky Mountain region based on new
revenue. In 2017, Mr. Nachtrieb also helped grow a $5 million Utah account into a $65
million dollar account in 2017 generating over $400,000 in new fee income.

       24.    Nonetheless, in August of 2017, KPB reassigned about $40 million of Mr.
Nachtrieb's Colorado accounts to a brand-new hire, Robert Matt Headland. Mr.
Headland is just 47 years old and is significantly less experienced and credentialed than
Mr. Nachtrieb. After Mr. Headland was hired, Mr. Lindquist funneled all new business to
him including a $30 million prospect. This practice repeatedly denied Mr. Nachtrieb
opportunities for growth. Mr. Lindquist was also increasingly hostile and negative
toward Mr. Nachtrieb.

       25.    In Mr. Nachtrieb’s 2017 mid-year review, delivered to him on or about
August 29, 2017, Mr. Lindquist again ranked Mr. Nachtrieb a 2 out of 5 or
“unsatisfactory”. In that review, Mr. Lindquist criticized Mr. Nachtrieb for making
protected disclosures of wrongdoing, including KPB’s misrepresentations in client
statements.

      G.     Mr. Nachtrieb Protested the Retaliatory Performance Review.

      26.     On August 31, 2017, Mr. Nachtrieb spoke with Mr. Lindquist about his
2017 mid-year review and told him that it was was erroneous, and retaliatory. He
discussed how Mr. Lindquist was penalizing him for speaking out against the use of
misleading client statements.

       27.    In a September 5, 2017, email, Mr. Nachtrieb complained to Mr. Lindquist
that the review was retaliatory because he had been criticized for making protected
Open Door complaints.

     28.     On September 17, 2017, Mr. Nachtrieb filed a formal Open Door
Complaint alleging, among other things, that his latest review was retaliatory.

       H.    Mr. Nachtrieb’s Protected Complaint Regarding Account Privacy.

      29.    On December 26, 2017, Mr. Nachtrieb refused to follow Mr. Lindquist’s
improper request that he violate company policy, and federal and state law, by granting
Lisa Davis, KPB’s Senior Financial Planner, access to a private drive containing non-

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public information about a client account. In response, Mr. Lindquist accused Mr.
Nachtrieb of insubordination. Later, the Privacy Group confirmed that Mr. Lindquist did
not have authority to access these files, or grant other employee’s access to these files.
Despite that fact, Mr. Lindquist later allowed Ms. Davis to access these private files. In
January of 2018, Mr. Nachtrieb alerted Mike Ervin, a KPB Compliance Analyst, about
Mr. Lindquist’s privacy breach.

       30.     Mr. Lindquist permitted this breach of privacy, because he believed that it
would assist promote KPB marketing and solicitation objectives, and boost department
revenue and incentive pay. Mr. Nachtrieb protested these violations because under the
CFA Code he must always “[p]lace the integrity of the investment profession and the
interests of clients above [his] own personal interests.” Ex. C, Standards, p. 1.

      H.      Mr. Nachtrieb’s Protected Complaints Regarding A Conflict of
Interest.

       31.   After KPB made changes to the PM incentive plan, Mr. Nachtrieb met with
Mr. Lindquist on January 5, 2018, and reported that the new plan created a conflict of
interest between KPB PMs and clients and therefore violated the CFA Standards and
federal and state law. During the meeting with Mr. Lindquist about Mr. Nachtrieb’s
concerns, Mr. Lindquist criticized Mr. Nachtrieb for refusing to grant access to the private
drive.

        32.   On January 11, 2018, Mr. Nachtrieb again complained to Mr. Lindquist
that the 2018 PM incentive plan violated the CFA Standards, as well as federal and
state law. Mr. Lindquist dismissed his concerns and took no action.

     I.     KPB Continued to Retaliate Against Mr. Nachtrieb and Discriminated
Against Him Based on His Age.

        33.   On January 17, 2018, KPB responded to Mr. Nachtrieb’s September 2017
Open Door complaint. Recognizing that he was reviewed unfairly by Mr. Lindquist, his
review was changed from a 2 out of 5, to a 3 out of 5 or “satisfactory” by Thomas
Tulodzieski, Regional Sales Executive, and Lori Seabon, Senior Lead Employee
Relations Consultant. KPB, however, did not take any action regarding the remainder
of his complaints, and criticized him for “belaboring” the issue of misstatements to
clients.

       34.    On January 19, 2018, Mr. Lindquist again chastised Mr. Nachtrieb for
continuing to raise the issue of misrepresentations by KPB.

       35.   Soon thereafter, Lisa Douglas, KPB’s trust officer, removed Mr. Nachtrieb
from an approximately $5 million trust account after the client passed away. The
remaindermen of the trust were the grandchildren of the client, and despite the policy
that accounts stay with the same PM, Ms. Douglas said a “younger PM would be better
suited to manage the account.” She then gave the account to Mr. Headland.

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        36.    On February 2, 2018, Mr. Nachtrieb appealed KPB’s determination that he
was only entitled to a 1-point increase on his mid-year performance review, and asked
that his other concerns be addressed, including his concern about misstatements to
clients.

       K.     Mr. Nachtrieb Filed His Final Open Door Complaint.

        37.     Mr. Nachtrieb filed a new Open Door complaint on January 31, 2018, and
reported several new concerns. First, he reported that Mr. Lindquist breached privacy
laws by giving Lisa Davis confidential information about a client account on the private
drive. He also reported that Mr. Lindquist retaliated against Mr. Nachtrieb for refusing to
grant Ms. Davis access. Second, he reported that the new PM incentive plan violated
federal and state law. Third, he reported that employees breached privacy regulations
when Ms. Douglas met with beneficiaries of a deceased client’s account, including non-
interested parties who are not named in the governing documents. Fourth, he reported
that after years of working on a deceased client’s account, it was improperly taken away
from him and given to Mr. Headland. Fifth, he reported that a new $30 million account
opportunity was taken from Mr. Nachtrieb and given to Mr. Headland over Mr. Nachtrieb
in retaliation for his prior complaints.

       L.     KPB Terminated Mr. Nachtrieb for Pretextual Reasons.

        38.   Just two weeks later, on February 9, 2018, Mr. Lindquist fired Mr.
Nachtrieb as part of a "layoff" of one. Mr. Lindquist asserted that he had decided to fire
Mr. Nachtrieb because he only needed one PM in Colorado. This decision was blatantly
retaliatory. After all, at the time of his "layoff", Mr. Nachtrieb's production performance
was rated 8 out of roughly 50 PMs. Mr. Nachtrieb managed $200,000,000 in assets,
$80,000,000 of which were custodial in Colorado. As such, he managed far more
assets than Matt Headland, who was retained.

       39.     In this context, Mr. Nachtrieb was told that Mr. Headland was retained
because he managed more assets in Colorado than Mr. Nachtrieb. In reality, around
the time of his termination, Mr. Nachtrieb actually managed roughly $30 million more in
assets than Mr. Headland. Additionally, the majority of assets that Mr. Headland did
manage were individual accounts taken from Mr. Nachtrieb and given to Mr. Headland.

                              V.     CLAIMS FOR RELIEIF

                            FIRST CLAIM FOR RELIEF
                  Wrongful Discharge in Violation of Public Policy

       40.   Plaintiff hereby incorporates Paragraphs 1 through 39 as though fully
alleged herein.



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        41.   Plaintiff Nachtrieb was directed to perform an illegal or unethical act as
part of his work-related duties and Mr. Nachtrieb opposed matters that he reasonably
believed were illegal or unethical.

      42.    The actions directed by his employer and about which he complained
would have violated a statute, ethical code, or other clearly expressed public policy.

       43.   Mr. Nachtrieb was terminated as a result of refusing to perform an illegal
act or opposing such unethical or illegal acts.

       44.    Defendant was aware or should have been aware that Mr. Nachtrieb’s
refusal and complaints was based on his reasonable belief that the acts were illegal or
unethical or otherwise protected by public policy.

     45.      As a result of Defendant’s decision to fire Mr. Nachtrieb, he has been
damaged.

                             SECOND CLAIM FOR RELIEF
                                 Breach of Contract

       46.   Plaintiff hereby incorporates Paragraphs 1 through 45 as though fully
alleged herein.

      47.    KPB’s Code of Ethics and Open Door Policy constitute a contract between
Defendant and Mr. Nachtrieb. By those policies, Plaintiff Nachtrieb was promised that
he would not be retaliated against for raising ethical issues with Management.

      48.  Plaintiff Nachtrieb accepted that contract by accepting and continuing his
employment with Defendant.

       49.    Defendants breached Plaintiff Nachtrieb’s contract by retaliating against

him for raising ethical concerns.

       50.    As a result of Defendant’s breaches, Mr. Nachtrieb has suffered damages.

       51.    Defendant’s breach was willful and wanton.

                           THIRD CLAIM FOR RELIEF
Age Discrimination in Violation of the Colorado Anti-Discrimination Act (“CADA”).

         52.   Plaintiff Nachtrieb hereby incorporates Paragraphs 1 through 51 as though
fully alleged herein.

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       53.   Plaintiff is a member of a class protected by the CADA, in that at the time
of the adverse actions taken against him, he was over the age of forty.

       54. Defendant discriminated against Plaintiff on the basis of his age, and
caused him severe injuries, damages, and losses. His age was the but/for cause of his
termination.

     55.   Defendant’s conduct was the proximate cause of Plaintiff’s injuries,
damages, and losses.

            WHEREFORE, Plaintiff Nachtrieb respectfully requests that this Court
enter judgment in his favor and against Defendant and grant him the following:

       a.     Damages in such an amount as will be proved at trial for lost wages and
other lost employment opportunities, lost benefits, lost bonuses, lost stock purchase
opportunities, lost appreciation from stock, lost dividends from stocks, and loss of
promotions.

        b.      Compensatory damages, including for emotional distress, as allowed by
law.

        c.      Attorneys' fees and costs as provided for by law and by this Court.

        d.      Pre-and post-judgment interest, costs, and expert witness fees; and,

        e.      Such other relief as the Court deems just and proper. 1

    PLAINTIFF NACHTRIEB DEMANDS A TRIAL BY JURY ON ISSUES TO TRIABLE


        Dated this 26th day of June, 2019.




1  Pursuant to C.R.S. § 13-21-102 (1.5)(e), Plaintiff will amend his claims for relief to include specific
demand for punitive and exemplary damages on those claims as allowed by law.

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                         BENEZRA & CULVER, P.C.

                         s/ John A. Culver

                         John A. Culver, No. 21811
                         Seth J. Benezra, No. 13144
                         Anna C. Fullerton, No. 53490
                         Colorado Plaza Tower #1
                         633 17th Street, Suite 1450
                         Denver, CO 80202
                         Telephone: (303) 716-0254
                         Facsimile: (303) 716-0327
                         sjbenezra@bc-law.com
                         jaculver@bc-law.com
                         acfullerton@bc-law.com


Plaintiff's Address:
Harold “Hal” Nachtrieb
2267 S. Loveland St.
Lakewood, CO




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